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                                                               EXHIBIT A
                                          STANDARDIZED FUND ACCOUNTING REPORT

                                              Receivership in SEC v. Thurman P. Bryant III, et al.
                                                Civil Court Docket No. 04:17‐CV‐00336‐ALM

                                       Seventh Quarterly Reporting Period ‐ 10/01/2018 ‐ 12/31/2018

FUND ACCOUNTING:
                                                                                  Reporting Period Subtotal Prior Periods Grand Total
Line 1       Beginning Balance (As of 10/01/2018)                                    $1,347,858.08           $735,516.40          $0.00

             Increases in Fund Balance:

Line 2       Business Income                                                                  $0.00                $0.00         $0.00
Line 3       Cash and Securities                                                              $0.00          $424,219.65 $424,219.65
Line 4       Interest/Dividends Income                                                        $0.00                $0.00         $0.00
Line 5       Business Asset Liquidation                                                       $0.00                $0.00         $0.00
Line 6       Personal Asset Liquidation                                                       $0.00        $1,048,774.62 $1,048,774.62
Line 7       Third‐Party Litigation Income                                               $34,950.00          $711,900.00 $746,850.00
Line 8       Miscellaneous ‐ Other                                                       $29,400.00          $164,827.49 $194,227.49
  Line 8a                     Total Funds Available (Lines 1 ‐8):                     $1,412,208.08        $2,349,721.76 $2,414,071.76

             Decreases in Fund Balance:

Line 9       Disbursements to Investors                                                        $0.00               $0.00         $0.00

Line 10      Disbursements for Receivership Operations                                        $0.00                $0.00         $0.00
 Line 10a    Disbursements to Receiver or Other Professionals                           $114,821.81          $272,981.40   $387,803.21
 Line 10b    Business Asset Expenses                                                          $0.00            $2,976.87     $2,976.87
  Line 10c   Personal Asset Expenses                                                     $61,100.00          $152,311.90   $213,411.90
 Line 10d    Investment Expenses                                                           $159.00               $822.11      $981.11
 Line 10e    Third‐Party Litigation Expenses
             1. Attorney Fees                                                           $477,300.93          $572,771.40 $1,050,072.33
             2. Litigation Expenses                                                           $0.00                $0.00         $0.00
             Total Third‐Party Litigation Expenses                                      $477,300.93          $572,771.40 $1,050,072.33

 Line 10f Tax Administrator Fees and Bonds                                                    $0.00                $0.00         $0.00
 Line 10g Federal and State Tax Payments                                                      $0.00                $0.00         $0.00
          Total Disbursements for Receivership Operations                               $653,381.74        $1,001,863.68 $1,655,245.42

Line 11   Disbursements for Distribution Expenses Paid by the Fund:
 Line 11a             Distribution Plan Development Expenses:
          1. Fees:
                           Fund Administration                                                 $0.00               $0.00         $0.00
                           Independent Distribution Consultant (IDC)                           $0.00               $0.00         $0.00
                           Distribution Agent                                                  $0.00               $0.00         $0.00
                           Consultants                                                         $0.00               $0.00         $0.00
                           Legal Advisers                                                      $0.00               $0.00         $0.00
                           Tax Advisers                                                        $0.00               $0.00         $0.00
          2. Administrative Expenses                                                           $0.00               $0.00         $0.00
          3. Miscellaneous                                                                     $0.00               $0.00         $0.00
          Total Plan Development Expenses                                                      $0.00               $0.00         $0.00

 Line 11b Distribution Plan Implementation Expenses
          1. Fees
                           Fund Administration                                                 $0.00               $0.00         $0.00
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                             Independent Distribution Consultant (IDC)                 $0.00                 $0.00          $0.00
                             Distribution Agent                                        $0.00                 $0.00          $0.00
                             Consultants                                               $0.00                 $0.00          $0.00
                             Legal Advisers                                            $0.00                 $0.00          $0.00
                             Tax Advisers                                              $0.00                 $0.00          $0.00
           2. Administrative Expenses                                                  $0.00                 $0.00          $0.00
           3. Investor Identification:
                             Notice/Publishing Approved Plan                           $0.00                 $0.00          $0.00
                             Claimant Identification                                   $0.00                 $0.00          $0.00
                             Claims Processing                                         $0.00                 $0.00          $0.00
           4. Fund Administrator Bond                                                  $0.00                 $0.00          $0.00
           5. Miscellaneous                                                            $0.00                 $0.00          $0.00
           6. Federal Account for Investor Restitution                                 $0.00                 $0.00          $0.00
           (FAIR) Reporting Expenses
           Total Plan Implementation Expenses                                          $0.00                 $0.00          $0.00
           Total Disbursements for Distribution Expenses Paid by the Fund              $0.00                 $0.00          $0.00

Line 12    Disbursements to Court/Other
 Line 12a           Investment Expenses/Court Registry Investment
           System (CRIS) Fees                                                          $0.00                 $0.00         $0.00
 Line 12b     Federal Tax Payments                                                     $0.00                 $0.00         $0.00
             Total Disbursement to Court/Other:                                        $0.00                 $0.00         $0.00
             Total Funds Disburses (Line 9 ‐ 11):                                $653,381.74         $1,001,863.68 $1,655,245.42
Line 13    Ending Balance (As of 12/31/2018):                                    $758,826.34         $1,347,858.08 $758,826.34
Line 14    Ending Balance of Fund ‐ Net Assets:
 Line 14a     Cash & Cash Equivalents                                            $758,826.34         $1,347,858.08    $758,826.34
 Line 14b     Investments                                                              $0.00             $2,053.87          $0.00
  Line 14c    Other Assets or Uncleared Funds (Frozen Accounts)                    $1,700.00           $360,899.09      $1,700.00
           Total Ending Balance of Fund ‐ Net Assets                             $760,526.34         $1,710,811.04    $760,526.34


OTHER SUPPLEMENTAL INFORMATION:                                             Reporting Period Subtotal Prior Periods Grand Total

          Report of Items NOT To Be Paid by the Fund:
Line 15   Disbursements for Plan Administration Expenses Not Paid by the Fund:
 Line 15a Plan Development Expenses Not Paid by the Fund:
          1. Fees                                                                      $0.00                 $0.00          $0.00
                            Fund Administrator                                         $0.00                 $0.00          $0.00
                            IDC                                                        $0.00                 $0.00          $0.00
                            Distribution Agent                                         $0.00                 $0.00          $0.00
                            Consultants                                                $0.00                 $0.00          $0.00
                            Legal Advisers                                             $0.00                 $0.00          $0.00
                            Tax Advisers                                               $0.00                 $0.00          $0.00
          2. Administrative Expenses                                                   $0.00                 $0.00          $0.00
          3. Miscellaneous                                                             $0.00                 $0.00          $0.00
          Total Plan Development Expenses Not Paid by the Fund                         $0.00                 $0.00          $0.00
 Line 15b Plan Implementation Expenses Not Paid by the Fund:
          1. Fees
                            Fund Administrator                                         $0.00                 $0.00          $0.00
                            IDC                                                        $0.00                 $0.00          $0.00
                            Distribution Agent                                         $0.00                 $0.00          $0.00
                            Consultants                                                $0.00                 $0.00          $0.00
                            Legal Advisers                                             $0.00                 $0.00          $0.00
                            Tax Advisers                                               $0.00                 $0.00          $0.00
          2. Administrative Expenses                                                   $0.00                 $0.00          $0.00
          3. Investor Identification:
                            Notice/Publishing Approved Plan                            $0.00                 $0.00          $0.00
                            Claimant Identification                                    $0.00                 $0.00          $0.00
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                             Claims Processing                              $0.00   $0.00   $0.00
                             Web Site Maintenance/Call Center               $0.00   $0.00   $0.00
            4. Fund Administrator Bond                                      $0.00   $0.00   $0.00
            5. Miscellaneous                                                $0.00   $0.00   $0.00
            6. FAIR Reporting Expenses                                      $0.00   $0.00   $0.00
            Total Plan Implementation Expenses Not Paid by the Fund         $0.00   $0.00   $0.00
 Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund          $0.00   $0.00   $0.00
            Total Disbursements for Plan Administration Expenses Not Paid   $0.00   $0.00   $0.00
Line 16     Disbursements to Court/Other Not Paid by the Fund
 Line 16a       Investment Expenses/CRIS Fees                               $0.00   $0.00   $0.00
 Line 16b       Federal Tax Payments                                        $0.00   $0.00   $0.00
            Total Disbursements to Court/Other Not Paid by Fund:            $0.00   $0.00   $0.00
Line 17     DC & State Tax Payments                                         $0.00   $0.00   $0.00
Line 18     No. of Claims:
 Line 18a       # of Claims Received This Reporting Period                     0      84      84
 Line 18b       # of Claims Received Since Inception of Fund                  84      84      84
Line 19     No of Claimants/Investors
 Line 19a       # of Claimants/Investors Paid This Reporting Period            0       0       0
 Line 19b       # of Claimants/Investors Paid Since Inception of Fund          0       0       0
